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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                       )
                                                )
                              Plaintiff,        )
                                                )
               vs.                              )       Case No. 08-CR-30099-MJR
                                                )
DALLAS D. HAWKINS,                              )
                                                )
                              Defendant.        )


                                MEMORANDUM and ORDER

REAGAN, District Judge:

               On January 23, 2009, the parties appeared before the Honorable Clifford J. Proud,

United States Magistrate Judge of this District Court. Pursuant to Federal Rule of Criminal

Procedure 11 and SDIL Rule 72.1(b)(2), with the consent of all parties and following a thorough

colloquy, Defendant Dallas Hawkins entered a guilty plea as to Counts 1, 2, 3, and 7 of the

indictment. Hawkins also conceded the forfeiture of the property enumerated in Count 8.

               By Report filed January 23, 2009, Judge Proud recommends that the undersigned

District Judge accept Hawkins’s plea of guilty, that a presentence investigation and report be

prepared, and that the Defendant be adjudicated guilty and have sentence imposed accordingly (Doc.

48). The Report was sent to the parties along with a “NOTICE” informing them of their right to

object to Judge Proud’s Report. To date, no objections have been filed, and the period in which such

objections may be filed has expired.

               Accordingly, the undersigned District Judge ADOPTS in its entirety Magistrate

Judge Proud’s Report and Recommendation (Doc. 48), ACCEPTS Hawkins’s plea of guilty (as to

Counts 1, 2, 3, 7, and 8), ADJUDGES Hawkins guilty, REFERS the matter to the United States
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Probation Office so that a presentence investigation and report can be prepared, and SETS a

sentencing hearing for 11:00 a.m. on May 15, 2009.

              IT IS SO ORDERED.

              DATED this 9th day of February 2009.

                                                          s/ Michael J. Reagan
                                                          MICHAEL J. REAGAN
                                                          United States District Judge




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